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                    United States District Court
                     WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE



GABRIELLA KERTESZ,                                 JUDGMENT IN A CIVIL CASE

                       Plaintiff,                  Case No. 2:20-cv-00372-RAJ-BAT
      v.

BOB FERGUSON,

                       Defendant.



      Jury Verdict. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

 X    Decision by Court. This action came to consideration before the Court. The issues
      have been considered and a decision has been rendered.


THE COURT HAS ORDERED THAT:

      The Report and Recommendation is adopted and approved. Defendant Bob
Ferguson’s motion to dismiss (Dkt. 13) is GRANTED; Plaintiff’s claims against
Defendant are dismissed with prejudice.


      Dated this day the 18th day of June, 2020.


                                                   WILLIAM M. MCCOOL
                                                   Clerk of Court

                                                   Michael Williams
                                                   Deputy Clerk
